                                        UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 WACO DIVISION
IN RE:                                                            §                  CASE NO. 19-60071
Anthony Lamont Clay                                               §
April Shervone Clay                                               §                  Chapter 13
                                                                  §
       Debtor(s)



                                        CHAPTER 13 PLAN AND MOTIONS FOR
                                         VALUATION AND LIEN AVOIDANCE

                                                             AMENDED

 If you oppose the Plan's treatment of your claim or any provisions of this Plan, YOU MUST FILE AN OBJECTION to
 confirmation no later than fourteen (14) days before the confirmation hearing date.

 Use of the singular word "Debtor" in this Plan includes the plural where applicable. All section references ("§") are to the
 Bankruptcy Code unless otherwise noted.


The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
Plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision will
be ineffective if set out later in the Plan.
                                                          1. Plan Overview

 1.1   A limit on the amount of secured claim based on valuation of collateral for the                 Included          Not included
       claim, set out in Sections 7.8 and 7.9, which may result in a partial payment or no
       payment at all to the secured creditor

 1.2   Avoidance of a wholly unsecured lien or judicial lien or nonpossessory,                         Included          Not included
       nonpurchase-money security interest, set out in Sections 7.9 and 7.10

 1.3   Nonstandard provisions, set out in Section 8                                                    Included          Not included


                                                          2. Plan Summary

2.1    Debtor's Plan payment will be      see below      per month, paid by       3rd Party Epay (if accepted by Trustee),
            Payroll Order, or     Direct (Money Order or Cashier's Check). Variable payments, if applicable, are proposed as
       follows:

         Months                                                         Amount of Monthly Payment

         1 - 11                                                         $1,200.00
         12 - 25                                                        $1,400.00

         26 - 60                                                        $1,965.00

       The term of the Plan is     60      months. The gross amount to be paid to the Trustee (sometimes, the "base amount")
       is    $101,575.00 .




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2.2      Under this Plan, the Trustee will pay all allowed priority claims in full; all allowed secured claims to the extent of the value
         of the collateral or the amount of the claim, whichever amount is provided for in Sections 7.7 and 7.8; and approximately
              100     % to allowed general unsecured claims. The specific treatment for each class of creditors is set forth below in
         the Plan.
         This Plan does not allow claims. A creditor must file a proof of claim by the applicable deadline to receive
         distributions under the plan as confirmed. Creditors are referred to the Federal Rules of Bankruptcy Procedure, the
         Local Bankruptcy Rules for the Western District of Texas, and the Standing Order for Chapter 13 Administration for
         this Division for information on procedures and deadlines.

2.3      The aggregate value of Debtor's non-exempt assets is:              $0.00       .

                                                      3. Vesting of Estate Property

              Upon confirmation of the Plan, all property of the estate SHALL vest in the Debtor, shall not remain property of the
              estate, and shall not be subject to the automatic stay of § 362; provided however, in the event of conversion of this
              case to chapter 7 the property of the Debtor as of the petition date should revest in the estate.

              Upon confirmation of the Plan, all property of the estate SHALL NOT vest in the Debtor, shall remain property of the
              estate, and shall remain subject to the automatic stay of § 362.


                                                4. Tax Refunds and Annual Tax Returns
4.1      Tax Refunds.
         All tax refunds received by Debtor (or either Debtor if a joint case) while the chapter 13 case is pending shall be allocated
         as set forth below:

         1)   The total amount of the aggregate tax refund(s) received for any tax period that exceeds $2,000.00 shall, upon
              receipt, be paid and turned over to the Trustee as additional disposable income and such amount shall increase the
              base amount of the Plan. The Plan shall be deemed modified accordingly, and the Trustee will file a notice of plan
              modification within 21 days of receipt of the tax refund;

         2)   This $2,000.00 annual limit shall apply to both joint-debtor and single-debtor cases;

         3)   The $2,000.00 otherwise retained by Debtor must first be applied to any Plan arrearages;

         4)   Notwithstanding subparagraph (1) above, Debtor may file a notice to retain the portion of the tax refund otherwise
              payable to the Plan under subparagraph (1) with twenty-one (21) day negative notice as set forth in Local Rule
              9014(a) if, at the time of receipt of a refund, Debtor's Plan provides for the payment of 100% of allowed general
              unsecured claims within the term of this Plan. If the Trustee does not object within the twenty-one (21) day negative
              notice period, Debtor may retain that portion of the tax refund.

         The Trustee is hereby authorized to endorse a tax refund check if the check is made payable to Debtor.

4.2      Annual Tax Returns.

         Debtor shall provide a copy of the annual post-petition income tax return to the Trustee if requested to do so or if required
         to do so pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending. If
         this is a joint case, each Debtor shall comply with this provision if separate returns are filed.

                                         5. Pre-Confirmation Adequate Protection Payments

         Pre-confirmation adequate protection payments under § 1326(a)(1) and § 502(b) shall be made as provided below, and
         pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending:

         A.   All pre-confirmation payments if required by § 1326(c) and proposed below will be made by the Chapter 13 Trustee
              without further order of the Court. Such payments shall be considered payments pursuant to § 1326(a) and
              28 U.S.C. § 586(e).



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         B.   If the Debtor fails to make the required plan payments and funds on hand are not sufficient to pay all pre-
              confirmation adequate protection payments due, then such payments shall be paid on a pro rata basis, with the
              exception of ongoing monthly mortgage payments made by the Trustee.

         C. Monthly pre-confirmation adequate protection payments will be calculated from the date the first plan payment is
            due. To receive adequate protection payments, a secured creditor must have on file with the Clerk of the Court a
            timely filed and allowed proof of claim. The proof of claim must include proof of the creditor's security interest and
            shall be served on the Chapter 13 Trustee, the Debtor and Debtor's attorney. The Trustee will thereafter commence
            disbursement of pre-confirmation adequate protection payments in the next regularly scheduled monthly
            disbursement following the filing of the claim, subject to normal operating procedures.

         D. The Debtor proposes the following pre-confirmation adequate protection ("AP") payments. The Trustee shall apply
            pre-confirmation adequate protection payments to accrued interest, if applicable, and then to principal. AP payments
            shall cease upon confirmation of the Plan.


 Creditor & Collateral                                        Monthly AP         Interest Rate,    Other Treatment
                                                              Payment            If Claim is       Remarks
                                                                                 Over Secured

Conn's                                                                  $25.00
Washer, Dryer and Laptop
First Investors                                                        $100.00
2017 Toyota Rav4
GM Financial                                                           $100.00
2017 Chevrolet Impala
                                 6. Executory Contracts / Unexpired Leases / Contracts for Deed
6.1      Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to assume the following executory contracts, unexpired
         leases, and/or contracts for deed as follows:


 Creditor                                                Property or Contract Description                     Current Monthly
                                                                                                              Payment to be Paid
                                                                                                              Directly by the
                                                                                                              Debtor

Aaron's                                                  Rent to Own Contract                                                  $0.00
Aaron's                                                  Rent to Own Contract                                                  $0.00


Progressive Leasing                                      Rent to Own Contract                                                  $0.00
Progressive Leasing                                      Rent to Own Contract                                                  $0.00




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6.2      Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to reject the following executory contracts, unexpired
         leases, and/or contracts for deed:


 Creditor                                                                 Property


                                                          7. Treatment of Claims

7.1      Administrative Claims and Request for Attorney Fees.

         The Trustee shall collect the allowed statutory Trustee fee upon receipt of all monies paid by or on behalf of Debtor. All
         other administrative claims, including Debtor's attorney fees, shall be paid according to the terms of this Plan.

         Upon confirmation of the Plan, the Court approves and awards          $3,600.00      to Debtor's attorney as an adminstrative
         claim for legal services performed in this case in accordance with the applicable benchmark. Debtor's attorney may file
         applications for additional award of attorney fees pursuant to the Bankruptcy Code, Local Bankruptcy Rules for the
         Western District of Texas, and the Standing Order for Chapter 13 Administration for the division in which this case is
         pending. If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this
         class on a pro rata basis. The Trustee shall disburse payments to the attorney as follows:

 Debtor's Attorney                                     Amount of Fee Paid       Payment                 Additional
                                                       Through the Plan         Method:                 Provisions

James O. Cure, Attorney at Law                                      $3,100.00        Standing Order
                                                                                     Other

7.2      Priority Claims.
         All allowed claims entitled to priority under § 507(a), except § 507(a)(2), shall be paid in full in deferred distributions by
         the Trustee, unless: (1) the holder of a particular claim agrees to a different treatment of such claim; or (2) such claim is
         provided for under § 1322(a)(4). Unless the Plan provides otherwise, the distributions shall be made by the Trustee. If
         the Plan identifies a creditor's claim as a priority claim and the creditor files the claim as a general unsecured claim, the
         claim shall be treated as a general unsecured claim unless otherwise ordered by the Court. If any priority claim is filed
         for a debt that was either not scheduled or scheduled as a general unsecured claim, the claim shall be allowed as a
         priority claim unless otherwise ordered by the Court. Allowed priority claim(s) shall be paid without interest, unless
         otherwise ordered by the Court or unless specifically allowed under § 1322(b)(10) and provided for below.

         The amount set forth in the Plan is an estimate and if the actual allowed claim is in a different amount, the amount to be
         paid pursuant to the Plan shall be the amount due on the allowed claim.

         Domestic Support Obligations ("DSO"). The Trustee shall pay all pre-petition DSO claims through the Plan unless the
         Court orders otherwise. Debtor shall pay all DSO payments that accrue post-petition directly to the holder, or the holder's
         agent, pursuant to the terms of the DSO.

         The Trustee shall disburse payments to the following creditors holding priority claims:

 Creditor                                           Description                                     Est. Claim         Est.
                                                                                                    Amount             Monthly
                                                                                                                       Payment


         If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a
         pro rata basis.




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7.3      Arrears on Assumed Executory Contracts/Leases/Contracts for Deed.

         The Trustee shall disburse payments for arrears to creditors holding assumed executory contracts, leases, and/or
         contracts for deeds. The amounts listed below by Debtor are estimates. If a creditor files a proof of claim and the claim
         for arrears or the ongoing monthly payment is in a different amount than stated below, the payments under the Plan shall
         be based on the creditor's claim unless a different amount is established by court order.

         Those creditors holding claims within this class are as follows:

 Creditor & Collateral                                     Arrears & Treatment of                     Amount of Ongoing Monthly
                                                           Arrears Through the Plan                   Payment Through the Plan


7.4      Collateral to be Surrendered.

         Upon the entry of an order confirming the Plan or an order modifying the Plan, the stay shall automatically terminate with
         regard to the collateral surrendered. Upon entry of such order, the creditor shall have ninety (90) days from the date of
         the order to file a claim or amended claim as to any deficiency balance that may remain, and such deficiency balance will
         be paid as a general unsecured claim. Any such claim is subject to objection.

         Debtor surrenders the following collateral:


 Creditor                                         Collateral                                     Location of Collateral


7.5      Creditors to be Paid Directly by Debtor (Other Than Mortgage Creditors), by a Third Party, or by a Co-Debtor.
         [USE ONLY IF THERE IS NO DEFAULT]

         Creditors within this class shall retain their liens on the collateral that is security for the claim until the claim has been
         paid in full as determined by the note and/or applicable non-bankruptcy law.

         If certain claims are paid directly by Debtor to creditor, Debtor shall be deemed acting as a disbursing agent under the
         Plan for payment of such claim. Such payments shall be made in addition to the payments by Debtor to the Trustee and
         are deemed to be payments made pursuant to the Plan.

         The following creditors shall be paid directly by Debtor, a Third Party, or a Co-Debtor:

 Creditor /                                            Debt              Monthly           Remarks                           Identify
 Collateral                                            Owed              Payment                                             Payer

DFAS-DGG-CL                                                $3,093.00              $0.00                                      Debtor


FedLoan Servicing                                          $2,250.00              $0.00                                      Debtor


FedLoan Servicing                                          $1,686.00             $13.00                                      Debtor


US Dept. of Education/Great Lakes                          $2,250.00              $0.00                                      Debtor




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7.6      Mortgage Creditors: Ongoing Mortgage Payments and Direct Mortgage Payments on Debtor's Principal Residence.

         Unless the Debtor is current on the mortgage on the petition date, or otherwise provided for under PLAN PROVISIONS
         8. Nonstandard Plan Provisions, the Trustee shall pay all post-petition monthly mortgage payments to the mortgagee.
         Ongoing mortgage payments will be in the amount stated in the allowed proof of claim or pursuant to a Court Order. If
         Debtor makes a Plan payment that is insufficient for the Trustee to disburse all ongoing mortgage payments required
         below, the Trustee shall hold plan payments until a sufficient amount is received to make a full ongoing mortgage
         payment. Debtor shall provide to the Trustee all notices received from Mortgage Creditors including statements, escrow
         notices, default notifications, and notices concerning changes of the interest rate if a variable rate mortgage. The
         automatic stay is modified to permit Mortgage Creditors to issue such notices.

         The Trustee shall be authorized to make changes to the ongoing monthly mortgage payments based on Notice filed
         pursuant to Bankruptcy Rule 3002.1(b) and to pay fees, expenses, and charges based on Notice filed pursuant to
         Bankruptcy Rule 3002.1(c). The Trustee may request that the Debtor file amended Schedules I and J, and the Debtor
         shall do so on or within thirty (30) days after receiving such a request from the Trustee. If Debtor lacks the disposable
         income to pay the ongoing mortgage payment, the Trustee may seek dismissal. The Debtor or the Trustee may seek to
         modify the Plan based on Debtor's current income, Debtor's ongoing mortgage payment obligations, or as otherwise
         provided in § 1329.

         Alternatively, upon the filing by a Mortgage Creditor of a Notice pursuant to Bankruptcy Rule 3002.1(b) or 3002.1(c), the
         Trustee may file a Notice of Increase of Plan Payment with the Court if the Trustee reasonably believes that, under the
         circumstances, the increased payment should be Debtor's responsibility. The Trustee shall serve the Notice of Increase
         of Plan Payment on Debtor and Debtor's counsel. Such circumstances include but are not limited to: (1) increase in the
         mortgage payment or claim for expense is caused by Debtor's failure to pay tax, insurance or other obligations to the
         mortgagee that the Debtor was required to pay directly; (2) cases in which the Debtor is paying less than the Debtor's full
         disposable income because the Debtor has agreed to pay a 100% dividend to general unsecured creditors; and (3)
         cases where, because of the increase due the Mortgage Creditor, the current Plan would fail to pay fully the amount
         provided under the Plan to allowed secured, priority, and administrative claims and any required amount to be paid to
         general unsecured claims under the terms of the confirmed Plan by reason of § 1325(a)(4) or otherwise.

         The amount set forth in a Notice of Increase of Plan Payment shall become the modified Plan payment, and the Plan
         base shall be correspondingly increased. The Debtor must file a motion to modify Plan, supported by amended
         Schedules I and J as well as income verification, if the Debtor believes there is not, at that time, sufficient disposable
         income to pay the increased Plan payment or there is otherwise basis to amend the Plan rather than pay the increased
         Plan payment. The Debtor's motion to modify Plan shall be filed no later than thirty (30) days after Trustee's Notice of
         Increase in Plan Payment is filed.

         It is possible that a change in the ongoing mortgage payment will affect the distribution to the unsecured creditors,
         and this provision of the Plan shall serve as adequate notice of the possibility.

         If Debtor is current as of the petition date and elects to pay the ongoing mortgage directly but subsequently defaults,
         Debtor should file a motion to modify the Plan within thirty (30) days of receiving notice of the default to provide for the
         payment of the post-petition mortgage arrears. The future ongoing mortgage payments shall be paid by the Trustee.
         The motion to modify the Plan must state the name, address, and account number of the Mortgage Creditor to whom
         payments are to be made; the date the Trustee is to commence the ongoing mortgage payments; and the treatment of
         the post-petition delinquency including the gap between the date when Debtor modified the Plan and the date on which
         the Trustee is to commence the ongoing mortgage payments. The Trustee may also file a motion to modify the Plan in
         the event of a post-petition default.

         The Standing Order for Chapter 13 Administration for the division in which this case is pending as to ongoing mortgage
         payments shall also apply.

         For cause shown, Debtor may deviate from the procedures set forth in this provision of the Plan provided that Debtor sets
         forth cause, with specificity, in PLAN PROVISIONS 8. Nonstandard Plan Provisions. The Trustee and any party in interest
         may object. Debtor shall have the burden of proving at any hearing on confirmation of the Plan cause for such deviation.
         Avoidance of administrative fees alone shall not be considered cause.




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         The amounts set forth below are Debtor's estimate and the allowed claim shall control as to the amounts. Those
         creditors holding a secured claim with ongoing mortgage payments are as follows:


 Creditor                            Property                             Monthly           Interest            Payment Due Paid By:
                                     Address                              Mortgage          Rate (for           Date
                                                                          Payment           informational       (per contract)
                                                                                            purposes only)


7.7      Secured Claims: Cure Arrears on Long Term Debt and Mortgage Arrears on Debtor's Principal Residence.

         Arrears on long term debt and pre-petition mortgage arrearage claims shall be paid pursuant to the payment schedule
         set forth below. Upon discharge, if the pre-petition arrears and the post-petition ongoing payments are current on
         Debtor's Principal Residence, the default will be deemed cured and the note reinstated according to its original terms,
         including the retention of any security interest. The pre-petition arrears set forth below is an estimate only and the
         Trustee shall pay the pre-petition arrears based on the proof of claim as filed by the creditor, unless a different amount is
         allowed pursuant to a court order.

         If there are insufficient funds to pay the monthly payment to claims within this class, creditors in this class shall be paid
         on a pro rata basis. If additional monies are available, the Trustee may, within his or her discretion, disburse such funds
         to this class on a pro rata basis.

         The following secured creditors hold claims for arrears in this class:

 Creditor                         Collateral                       Estimated         Monthly            Interest Rate Remarks
                                  Description                      Arrearage         Payment or         (If applicable)
                                                                                     Method of
                                                                                     Distribution

7.8      Secured Claims: Treatment of Claim and Motion to Value Collateral Pursuant to § 506; and 910 Day Claims/1 Year
         Claims.

         Creditors within this class shall retain their liens on the collateral that is security for their claims until the earlier of: (1) the
         date the underlying debt, as determined by non-bankruptcy law, has been paid in full; or (2) the date discharge is entered
         under § 1328. If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained
         by the creditors pursuant to applicable non-bankruptcy law.
         Debtor moves to value the collateral described below in the amounts indicated. The values as stated below represent
         the fair market value of the collateral pursuant to § 506(a)(2). Objections to the valuation of collateral proposed by this
         Motion and the Plan must be filed no later than fourteen (14) days before the confirmation hearing date. If no timely
         objection is filed, the relief requested may be granted in conjunction with the confirmation of the Plan.

         The Trustee shall pay the allowed secured claims, which require the filing of a proof of claim, to the extent of the value of
         the collateral or the full payment of the claim as specified below, plus interest thereon at the rate specified in this Plan.
         Failure of the secured creditor to object will be deemed acceptance of the plan under § 1325(a)(5)(A). Except for
         secured claims for which provision is made to pay the full amount of the claim notwithstanding the value of the collateral,
         the portion of any allowed claim that exceeds the value of the collateral shall be treated as an unsecured claim under
         Section 7.11 below.

 Creditor /                                      Amount            Fair              Interest      Equal                  Unsecured      910
 Collateral Description                          of Debt           Market            Rate          Monthly                Claim          Claim?
                                                 (Est)             Value                           Payment                               ***

Conn's                                                $3,320.00         $2,500.00         5.50%           Pro-Rata           $820.00
Washer, Dryer and Laptop
First Investors                                     $24,563.37         $18,400.00         5.50%           Pro-Rata               $0.00
2017 Toyota Rav4
GM Financial                                        $26,025.46         $19,150.00         5.50%           Pro-Rata               $0.00
2017 Chevrolet Impala



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*** Debtor indicates, by notation ( ) that the collateral which secures the claim was purchased within 910 days if a vehicle or
within 1 year if personal property pursuant to § 1325(a) (hanging paragraph).
         If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a
         pro rata basis.

         If any secured proof of claim is timely filed for a debt that was either not scheduled or scheduled as unsecured, the claim
         shall be allowed as secured unless otherwise ordered by the Court. Said claim shall be paid under the Plan with
         interest at   5.5 % per annum and shall be paid on a pro rata basis as funds become available after payment of any
         fixed equal monthly payments payable to other secured creditors listed above.

7.9      Wholly Unsecured Claims.

 NOTICE OF DEBTOR'S INTENTION TO STRIP A WHOLLY UNSECURED LIEN

 Debtor proposes a Chapter 13 plan that strips your lien secured by real property to a wholly unsecured claim. The Plan
 alleges that the value of the real property is less than the amount owed on all liens that are senior in priority to your lien.
 Your claim will receive no distributions as a secured claim but will receive distributions as a general unsecured claim.

 If you disagree with the treatment proposed by the Plan that will terminate your lien and that will pay your claim as a
 general unsecured claim, you must file an objection to the Plan no later than fourteen (14) days before the confirmation
 hearing date. If you fail to object, the Bankruptcy Court may approve the Plan without further notice.

 Upon entry of a Discharge Order, the holder of the lien is required to execute and record a full and unequivocal release of
 its liens, encumbrances and security interests secured by the real property and to provide a copy of the release to the
 Trustee, Debtor, and Debtor's counsel. Notwithstanding the foregoing, the holder of a lien that secures post-petition
 homeowners' association fees and assessments will be allowed to retain its lien, but only to secure (i) post-petition
 assessments; and (ii) other post-petition amounts, such as legal fees, if such post-petition amounts are incurred with
 respect to post-petition fees and assessments, and are approved by the Court, if incurred during the pendency of the
 bankruptcy case.

 This provision does not apply if a secured creditor does not file a proof of claim.

 Notice of this Plan provision must be provided by the Debtor to the secured creditor in accordance with Fed. R. Bankr. P. 7004.


         The following claims shall be paid as a general unsecured claim as there is no equity in the collateral to secure the
         claim.

         If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors
         pursuant to applicable non-bankruptcy law.

         Those creditors holding secured claims that are wholly unsecured and are within this class are as follows:

 Creditor                                           Collateral                                       Fair Market        Amount of
                                                                                                     Value              Senior Lien(s)

7.10     Motions to Avoid Lien Pursuant to § 522(f).

         The Bankruptcy Code allows certain liens to be avoided. If a lien is avoided, the creditor's claim, to the extent allowed,
         will be treated as a general unsecured claim under Section 7.11. The amount of the debt set forth in the Plan is Debtor's
         estimate and if the actual allowed claim is in a different amount, the unsecured amount to be treated pursuant to the Plan
         shall be the amount due on the allowed claim.

         If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors
         pursuant to applicable non-bankruptcy law.




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         Debtor moves under § 522(f) to avoid the following liens that impair exemptions. Objections to this treatment must be
         filed no later than fourteen (14) days before the confirmation hearing date. If no timely objection is filed, the relief
         requested may be granted in conjunction with the confirmation of the Plan. (Debtor must list the specific exempt property
         that the lien impairs and the basis of the lien--e.g. judicial lien, non-PMSI, etc.).

 Creditor                                 Property Subject to                    Lien               Secured            Type of Lien
                                          Lien                                   Amount to          Amount
                                                                                 be Avoided         Remaining

7.11     General Unsecured Claims.
         Creditors within this class hold general unsecured claims that are not otherwise provided for in the Plan, including but
         not limited to creditors' unsecured claims arising by reason of lien avoidance or lien strip, rejection of executory contracts
         or leases, or bifurcation of a claim. Payments to holders of allowed claims within this class shall be disbursed on a pro
         rata basis and shall be disbursed after payment of other creditors. The amounts set forth as unsecured claims in
         Debtor's schedules are estimates only, and payments to holders of allowed general unsecured claims shall be based
         upon allowed claim amounts.




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                                                   8. Nonstandard Plan Provisions

Nonstandard Plan Provisions.

The following Plan provisions will be effective only if there is a check in the box in Section 1.3 of the Plan.



 Affirmation of Value on Washer, Dryer and Laptop
 By signature below, the Debtors hereby affirm that: we are the at least 18 years or older and are qualified to make this
 statement. That we are indebted to Conn's who holds a purchase money lien on our washer, dryer and laptop. These
 items were purchased in June, 2017 for approximately $3,332.00. The merchandise described is in good condition. We
 believe the current market value of the merchandise is $2,500.00 which is based on sales prices in local
 advertisements, thrift shops and online advertisements.
 Payment of Attorney's Fees
 The Trustee shall make distribution of the base attorney fees at the maximum amount permitted under the First Standing
 Order Relating to Chapter 13 Case Administration under BAPCPA in the El Paso and Waco Divisions of November 8, 2005,
 Paragraph 6(bB), as amended January 23, 2007.
 Creditor's Direct Communication with the Debtor(s)
 Creditors whose claims are scheduled to be paid directly by the Debtor(s), including creditors with claims secured by
 real estate or vehicles, are authorized to send monthly statements to the Debtor(s). They are also authorized to
 communicate directly with the Debtor(s) in response to the Debtor(s) questions about monthly payments, escrow
 acxcounts, account balances, increases in monthly payments, and other routine custome service inquiries.
 ACCEPTANCE OF/REJECTION OF/OBJECTION TO THE PLAN
 Each holder of an allowed secured claim provided for by the plan shall be deemed to have accepted the plan unless
 such holder files a written rejection of the plan no later than 10 days prior to the confirmation hearing date. If the holder
 of an allowed secured claim files an objection to confirmation of the plan and does not otherwise reject the plan, said
 holder shall be deemed to have accepted the plan in all respects except those specifically raised in the objection to
 confirmation. All written notices of the plan shall be filed and served in the same manner as objections to confirmation.
 General
 All special provisions set forth herein are hereby incorporated into the confirmation order in this case as if recited
 therein verbatim.




Failure to place any nonstandard provision in this section results in the nonstandard provision being void.

I certify that all nonstandard plan provisions are contained in this section of the Plan.

/s/ James. O. Cure                                                    Date: 2/8/2019
Debtor's Attorney or Pro Se Debtor
State Bar No. 05252800


/s/ Anthony Lamont Clay
Debtor

/s/ April Shervone Clay
Joint Debtor



                                                          Certificate of Service
Debtor shall be responsible for service of the Plan on the Trustee and all parties in interest.




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                                     UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF TEXAS
                                              WACO DIVISION

  IN RE: Anthony Lamont Clay                                                      CASE NO.     19-60071
                                   Debtor


          April Shervone Clay                                                    CHAPTER       13
                                 Joint Debtor

                                                CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on February 11, 2019, a copy of the attached Chapter 13 Plan, with any
attachments, and Budget and Monthly Family Income were served on each party in interest listed below, by placing each
copy in an envelope properly addressed, postage fully prepaid in compliance with Local Rule 9013 (g).




                                /s/ James. O. Cure
                                James. O. Cure
                                Bar ID:05252800
                                James O. Cure, Attorney at Law
                                2584 Blue Meadow Dr.
                                Temple, TX 76502
                                (254) 690-8839



A. T. & T.                                      Capital One                                  DFAS-DGG-CL
xxxxx3009                                       xxxxxx2635                                   xxxxx5308
c/o ERC/ Enhanced Recovery                      c/o Midland Funding                          Garnishment Operations
8014 Bayberry Road                              2365 Northside Drive, Ste. 300               P.O. Box 998002
Jacksonville, FL 32256                          San Diego, CA 92108                          Cleveland, OH 44199-8002


AAFES                                           Conn's                                       DS Services America
xxxxxxxxxxxx1564                                xxxxx3730                                    xxxx3358
Attention: Bankruptcy                           P.O. Box 815867                              c/o CBA Collection Bureau
PO Box 650060                                   Dallas, TX 75234-5867                        PO Box 100039
Dallas, TX 75265                                                                             Kennesaw, GA 30156


Anthony Lamont Clay                             Country Door/Swiss Colony                    FedLoan Servicing
5224-1 Wales Street                             xxxxxxxxx553O                                xxxxxxxxxxxxx0002
Fort Hood, TX 76544                             Attn:Bankruptcy                              Attn: Bankruptcy
                                                P.O. Box 2830                                P.O. Box 69184
                                                Monroe, WI 53566                             Harrisburg, PA 17106


Capital One                                     Credit One Bank                              FedLoan Servicing
xxxxxxxxxxxx2000                                xxxxxxxxxxxx0669                             xxxxxxxxxxxxx0001
P.O. Box 30285                                  c/o LVNV Funding/Resurgent Cap.              Attn: Bankruptcy
Salt Lake City, UT 84130                        PO Box 10497                                 P.O. Box 69184
                                                Greenville, SC 29603                         Harrisburg, PA 17106
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               WACO DIVISION

  IN RE: Anthony Lamont Clay                                                  CASE NO.     19-60071
                                     Debtor


          April Shervone Clay                                                 CHAPTER      13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                   (Continuation Sheet #1)

Fingerhut                                      Fortiva                                   Reliamax Lending Service
xxxxxxxxx9003                                  xxxxxxxxxxxx6543                          x6091
c/o Jefferson Capital Systems, LLC             Attn: Bankruptcy                          2300 East 54th Street, North
P.O. Box 1999                                  P.O. Box 105555                           Sioux Falls, SD 57104
Saint Cloud, MN 56302                          Atlanta, GA 30348


Fingerhut                                      GM Financial                              ReliaMax Lending Services, LLC
xxxxxxxxxxxx1117                               xxxxx6791                                 x6091
c/o LVNV Funding/Resurgent Cap.                P.O. Box 78143                            P.O. Box 91910
PO Box 10497                                   Phoenix, AZ 85062-8143                    Sioux Falls, SD 57109-1910
Greenville, SC 29603


First Investors                                Just Military Loans                       Sprint
xxxxxxxxxxxxx0001                              xxxxx8730                                 xxxx7253
380 Interstate North Pkwy.                     c/o Monterey Collections                  c/o Convergent Outsourcing, Inc.
3rd Floor                                      4095 Avenida de la Plata                  PO Box 9004
Atlanta, GA 30339                              Oceanside, CA 92056                       Renton, WA 98057


First Premier Bank                             Kay Jewelers - Genesis                    Sterling Jewelers/Kay Jewelers
xxxxxxxxxxxx3909                               3822                                      xxxxxxxxxxxx3822
Attn: Bankruptcy                               Sterling Jewelers                         Attn: Bankruptcy
P.O. Box 5524                                  375 Ghent Road                            375 Ghent Rd
Sioux Falls, SD 57117                          Akron, OH 44333                           Akron, OH 44333


First Premier Bank                             Midnight Velvet                           Tidewater Finance Co
xxxxxxxxxxxx3974                               xxxxxxxxx929O                             xxxxx8932
Attn: Bankruptcy                               Swiss Colony/Midnight Velvet              Attn: Bankruptcy
P.O. Box 5524                                  1112 7th Ave                              6520 Indian River Rd
Sioux Falls, SD 57117                          Monroe, WI 53566                          Virginia Beach, VA 23464


Flexi Compras                                  Ray Hendren, Trustee                      US Dept. of Education/Great Lakes
xxxxxx66N1                                     4505 Spicewood Springs                    xxxxxxxxxxxx8581
c/o Deville Mgmt.                              Suite 205                                 Attn: Bankruptcy
PO Box 1987                                    Austin, TX 78759                          P.O. Box 7860
Colleyville, TX 76034                                                                    Madison, WI 53707


Flexi Compras                                  ReadyFresh by Nestle
66N1                                           xxxx4745
c/o Deville Mgmt.                              c/o Caine & Weinter
1132 Glade Road                                PO Box 5010
Colleyville, TX 76034                          Woodland Hills, CA 91365
 Fill in this information to identify your case:
     Debtor 1              Anthony              Lamont                 Clay
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              April                Shervone               Clay                                     An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           19-60071
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Soldier                                            Homemaker
      Include part-time, seasonal,
      or self-employed work.            Employer's name        DFAS-DGG-CL

      Occupation may include            Employer's address     Garnishment Operations
      student or homemaker, if it                              Number Street                                      Number Street
      applies.
                                                               P.O. Box 998002




                                                               Cleveland                    OH       44199-8002
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        19 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $6,404.47                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $6,404.47                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
Debtor 1        Anthony Lamont Clay
Debtor 2        April Shervone Clay                                                                                              Case number (if known)    19-60071
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $6,404.47            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $688.56                  $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                  $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                  $0.00
     5e. Insurance                                                                                          5e.               $29.62                  $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                  $0.00
     5g. Union dues                                                                                         5g.                $0.00                  $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +              $42.50                 $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $760.68                  $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $5,643.79                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify: Estimated Grants/VA Eduction (joint)                                                      8h. +            $830.00                  $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.               $830.00                  $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $6,473.79 +             $0.00 =                                                   $6,473.79
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $6,473.79
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           SSI for daughter $693.90.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
Debtor 1     Anthony Lamont Clay
Debtor 2     April Shervone Clay                                          Case number (if known)   19-60071


                                                                 For Debtor 1       For Debtor 2 or
                                                                                    non-filing spouse
5h. Other Payroll Deductions (details)
     SGLI and Family SGLI                                               $42.00
     AFRH                                                                $0.50

                                                       Totals:          $42.50               $0.00




Official Form 106I                       Schedule I: Your Income                                              page 3
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Anthony                Lamont                 Clay                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              April                  Shervone               Clay
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           19-60071
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            18 years
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,095.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $44.16

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $25.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
Debtor 1      Anthony Lamont Clay
Debtor 2      April Shervone Clay                                                      Case number (if known)   19-60071
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $40.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $400.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $468.33
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                     $150.00
10. Personal care products and services                                                             10.                    $150.00
11. Medical and dental expenses                                                                     11.                     $10.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $65.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                     $86.66
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                   $248.47
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify: Aarons - 11 months                                                      17c.                   $205.64
     17d.   Other. Specify: Progressive - 17 months / Aarons - 22 months                            17d.                   $189.94
18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
Debtor 1      Anthony Lamont Clay
Debtor 2      April Shervone Clay                                                              Case number (if known)   19-60071
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +              $1,895.59
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $5,273.79
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $5,273.79

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $6,473.79
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $5,273.79
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                  $1,200.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
Debtor 1    Anthony Lamont Clay
Debtor 2    April Shervone Clay                                          Case number (if known)   19-60071


21. Other. Specify:
    Storage                                                                                                    $77.00
    Progressive - 25 months                                                                                   $238.59
    Rent in Oklahoma                                                                                          $300.00
    Food in Oklahoma                                                                                          $200.00
    Transportation in Oklahoma                                                                                $200.00
    USDE                                                                                                       $50.00
    Books/Education costs for both debtors                                                                    $830.00

                                                                               Total:                        $1,895.59




 Official Form 106J                          Schedule J: Your Expenses                                           page 4
